Case 1:20-cv-00452-NYW-SKC Document 211 Filed 08/28/22 USDC Colorado Page 1 of 7




                      UNITED STATES DISTRICT COURT
                                                  for the
                                        District of Colorado

                                                         Case No. 20-cv-00452-NYW-SKC
   S
                  Tiffany Grays, pro se
                        Plaintiff(s)

                           -V-

       Equifax Inc. d/b/a/ Equifax Information
   Services LLC., Experian Information Solutions,
   Inc., Trans Union LLC., Innovis Data Solutions,
       Inc., Navient Corporation d/b/a Navient
                     Solutions, Inc.
                      Defendant(s)



         UNOPPOSED MOTION TO ENLARGE PLAINTIFF’S
       RESPONSE TIME AND/OR FOR THE APPOINTMENT OF
                         COUNSEL


       COMES NOW, Tiffany Grays, Plaintiff, pro se, prays this Court enters an Order enlarging

   Plaintiff’s response time for 120 days and/or appointing counsel for me in this matter so as to

   allow Plaintiff to heal and not delay proceedings. Plaintiff was recently released from the

   hospital as well as continues to be indigent and cannot afford to hire counsel to represent her.

   Plaintiff requires 60 days of rehabilitation, in addition to her illnesses being caused and

   aggravated by, the stress imposed by this and other current and future litigation. Plaintiff’s plight

   to have this case tried upon the merits and not Plaintiff’s indigent pro se status, substantiates

   approval of this motion.



                                                     1
Case 1:20-cv-00452-NYW-SKC Document 211 Filed 08/28/22 USDC Colorado Page 2 of 7




                                  I.     CERTIFICATION
      Pursuant to D.C. Colo. L Civ R 7.1(A), Plaintiff, in good-faith to conferred with counsel for

   Defendants via email. Defendants do not oppose the relief requested.


                              II.       STANDARD REVIEW
       “The court may request an attorney to represent any person unable to afford counsel.” 28

   U.S.C. § 1915 (e)(1).

      Fed. R. Civ. P. 6(b)(1)(A)(B) provides allowing the extension of Plaintiff’s time to respond

   as “In General. When an act may or must be done within a specified time, the court may, for

   good cause, extend the time:

      (A) with or without motion or notice if the court acts, or if a request is made, before the

   original time or its extension expires; or

      (B) on motion made after the time has expired if the party failed to act because of excusable

   neglect.” Fed. R. Civ. P. 6(b)(1)(A)(B).


                                       III.     ARGUMENT

             A. Good Cause Exists for Granting Plaintiff an Extension of Time

      At the beginning of June, Plaintiff became and currently remains homeless through no fault

   of her own. The end of June Plaintiff was stung by a bee near her eye which caused her eye to

   swell. In the beginning of July Plaintiff had multiple Doctor’s appointments to receive

   medications to treat the swelling. Plaintiff has had several issues arise in her basic life needs in




                                                     2
Case 1:20-cv-00452-NYW-SKC Document 211 Filed 08/28/22 USDC Colorado Page 3 of 7




   addition to the previously stated issues. All causing things to backup and pile up on the Plaintiff.

   Including that Plaintiff was hospitalized on August 11-14, 2022. Prior to and since said

   hospitalization, Plaintiff has been on medication which has hindered Plaintiff’s ability to focus

   and litigate this case. Plaintiff was also referred to have 60 days of rehabilitation which will

   further hinder pro se Plaintiff’s ability to meritoriously defend her claims to current time

   restrictions.

       The record reflects Plaintiff has diligently litigated this case and has not once requested

   additional time to respond, which substantiates the prohibitive nature of Plaintiff’s current health

   causing Plaintiff to seek this relief. Plaintiff is asking the Court to provide Plaintiff up to January

   02, 2023 to object to any order or respond to any motions. The appointment of counsel would

   also allow for Plaintiff to focus on improving her health while not delaying proceedings.

       “The layman's inability to overcome the intricacy of the adjudicative process, which gives

   rise to a constitutional guarantee of counsel in criminal prosecutions, equally impedes effective

   access of uncounselled litigants to the judicial process in civil cases.” Goldfarb v. Virginia State

   Bar, 421 U.S. 773, 792 (1975), citing Goldberg v. Kelly, 397 U.S. 254, 270 (1970). “Attorneys

   are officers of the court, and are bound to render service when required by such an appointment,”

   Powell v. Alabama, 287 U.S. 45, 73 (1932), as “lawyers are essential to the primary

   governmental function of administering justice.” Goldfarb v. Virginia State Bar, 421 U.S. 773,

   792 (1975). As assistants to the court, attorneys are subject to a variety of obligations imposed

   pursuant to the courts' regulatory power. Cohen v. Hurley, 366 U.S. 117, 124 (1961). See also

   Ferri v. Ackerman, 444 U.S. 193, 193-204 (1979).




                                                      3
Case 1:20-cv-00452-NYW-SKC Document 211 Filed 08/28/22 USDC Colorado Page 4 of 7




      In general, there is no constitutional right to appointment of counsel in a civil case. Durre v.

   Dempsey, 869 F.2d 543, 547 (10th Cir. 1989). For guidance the Tenth Circuit has identified

   factors that courts consider when evaluating a motion for appointment of counsel. Appointment

   of counsel is only appropriate under § 2000e-5(f)(1) after the plaintiff has affirmatively shown

   “(1) financial inability to pay for counsel; (2) diligence in attempting to secure counsel; and (3)

   meritorious allegations of discrimination.” A fourth factor determined in Poindexter v. FBI, 737

   F.2d 1173 (D.C. Cir. 1984), should be used as “an aid in exercising discretion” in close cases,

   the Court should also consider whether the plaintiff has the “capacity to present the case without

   counsel.” While this instant case is not brought under Title VII, the factors to grant appointment

   under Title VII claims, are similar to those considered when deciding to request an attorney to

   represent an indigent party under § 1915(e)(1).


                        B. Financial Ability & Efforts to Secure Counsel

      Plaintiff has submitted a financial affidavit in this action and the Court granted permission to

   proceed in forma pauperis. The affidavit likewise shows that Plaintiff is financially unable to

   secure counsel. In the appointment-of-counsel context, the pertinent inquiry is whether the party

   seeking appointment can “meet his or her daily expenses” while also hiring an attorney. Given

   the financial affidavit, Plaintiff has shown that she is unable to meet her daily, non-discretionary

   expenses; denying her ability to hire an attorney.

      Plaintiff’s indigent status affirms Plaintiff’s inability to pay for legal counsel and has caused

   the Plaintiff to seek judicial assistance from multiple sources, to no avail. Plaintiff has been to

   numerous legal clinics throughout the Denver Metro Area, where free services can be attained, to



                                                     4
Case 1:20-cv-00452-NYW-SKC Document 211 Filed 08/28/22 USDC Colorado Page 5 of 7




   no avail. Plaintiff has contacted many attorneys only to receive responses either requiring

   payment or denying the attorney’s ability to litigate the case.


                                          C. Merit of Allegations

       “The court need not, and should not, go so far as to actually decide the merits of the case

   prior to a decision on the plaintiff’s request for appointment of an attorney,” Poindexter v. FBI,

   737 F.2d 1187 n. 35 (D.C. Cir. 1984).


                          D. Capacity to Present Case Without Counsel

       Plaintiff, in extraordinary peril, has been forced to litigate multiple cases, of varied issues,

   defendants and difficulties; while being an unlicensed pro se litigant, causing substantial stress;

   all of which is detrimental to the health of the Plaintiff. Plaintiff’s current treating mental health

   providers attest to the health benefits of appointing counsel for the Plaintiff.

       Plaintiff has been prescribed medication for depression, anxiety, PTSD and Fibromyalgia,

   which has caused inter alia severe fatigue, nausea, cognitive delays, in addition to the constant

   pain caused by Fibromyalgia, as affirmed in ECF No. 13-1, all caused by the stress imposed

   through litigation, thereby hindering the Plaintiff’s ability to present her case without counsel.


                                    IV.      CONCLUSION

       Thus, for good cause shown, this Court would be well within its discretion to afford Plaintiff

   an extension of time to respond or object. The reduction in stress through the appointment of

   counsel not only furthers the administration of justice by enhancing the fairness of judicial



                                                      5
Case 1:20-cv-00452-NYW-SKC Document 211 Filed 08/28/22 USDC Colorado Page 6 of 7




   proceedings, as “the size of her pocketbook should not be dispositive when "an interest far more

   precious than any property right" is at stake,” Santosky v. Kramer,455 U.S. 745, but significantly

   impacts the Plaintiff’s health, in a positive manner. While not resolving all ailments, undoubtedly

   helping. Appointment of counsel will also ensure the development of a record adequate for

   summary judgment or trial. Every word the Plaintiff is forced to write, is literally hurting her.

   Plaintiff should not be forced to choose between health and life or liberty and justice.

   WHEREFORE, Plaintiff prays this Court will enlarge Plaintiff’s time to object any Orders to

   October 31, 2022; enlarge Plaintiff’s time to respond to any filing made by Defendant to 60 days

   or January 02, 2023, whichever comes first; and in addition to or in lieu of the aforementioned

   relief enter an Order appointing counsel in this matter.




                                         Respectfully Submitted,




                                                                               /s/ Tiffany Grays, pro se



                                                                                         Tiffany Grays
                                                                                      PO Box 472322
                                                                                   Aurora, CO 80047
                                                                                       (720) 623-1883
                                                                               Legalgrays@gmail.com




                                                     6
Case 1:20-cv-00452-NYW-SKC Document 211 Filed 08/28/22 USDC Colorado Page 7 of 7




                     UNITED STATES DISTRICT COURT
                                                for the
                                      District of Colorado

   Tiffany Grays, pro se                                        20-cv-00452-NYW-SKC
           v
   Navient Solutions, et al



                          CERTIFICATE OF SERVICE

   I hereby certify that on the 28th day of August 2022, I have filed the foregoing with the Clerk of
   Court using the CM/ECF system, which will also e-mail a true and correct copy of this document
   to the following:
   DOCUMENT: UNOPPOSED MOTION FOR THE APPOINTMENT OF COUNSEL


    Dennis N. Lueck                                    Kevin J. Burns
    dlueck@spencerfane.com                             Kevin.Burns@coag.gov
    Jessica Chong                                      Nikolai N. Frant, Esq.
    JChong@spencerfane.com                             Nikolai.Frant@coag.gov
    Counsel for Navient Defendant                      Consumer Protection Section
                                                       Consumer Credit Enforcement Unit
                                                       Colorado Department of Law
                                                       Ralph L. Carr Colorado Judicial Center
                                                       Counsel for Martha Fulford, Administrator
                                                       of the Colorado Student Loan Equity Act




                                                                            /s/ Tiffany Grays, pro se
                                                                                       Tiffany Grays
                                                                                    PO Box 472322
                                                                                 Aurora, CO 80047
                                                                                     (720) 623-1883
                                                                             Legalgrays@gmail.com




                                                   7
